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Attorney for Plaintiff


                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON


    SUSSIE MARIE DUE,                                                         6:20-cv-00408-MK
            Plaintiff,
                                                                    ORDER FOR ATTORNEY
           v.                                                  FEES UNDER 42 U.S.C. § 406(b)

    COMMISSIONER OF SOCIAL SECURITY,
          Defendant.



         Plaintiff’s Motion is hereby granted as follows: Kevin Kerr is allowed an attorney’s fee

under the Social Security Act, 42 U.S.C. § 406(b), in the amount of $13,021.25, to be paid out of

the claimant’s past-due benefits. Plaintiff’s counsel shall refund the amount of $5,422.03 already

received by counsel under the Equal Access to Justice Act.

         Any funds withheld by the Commissioner in anticipation of an order under Section

406(b), less an administrative assessment pursuant to 42 US.C. 406(d), may be paid to NW

Disability benefits, LLC dba Kerr Robichaux & Carroll (TID XX-XXXXXXX), 1 PO Box 14490,

Portland, OR 97293, consistent with this order.

         Dated this 13th day of October 2022.


                                                     s/ Mustafa T. Kasubhai
                                                     MUSTAFA T. KASUBHAI (He / Him)
                                                     United States Magistrate Judge



1
    Formerly known as Schneider Kerr & Robichaux.
